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                EXHIBIT A
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                                                                                                                        DB2 / ALL
                                                                                                     Transmittal Number: 22221531
Notice of Service of Process                                                                            Date Processed: 10/28/2020

Primary Contact:           Venessa C. Wickline Gribble
                           The Kroger Co.
                           1014 Vine Street
                           Cincinnati, OH 45202-1100

Entity:                                       Kroger Limited Partnership I
                                              Entity ID Number 2171999
Entity Served:                                Kroger Limited Partnership I, d/b/a Ruler Foods, Inc.
Title of Action:                              Jodi Morgan vs. Kroger Limited Partnership I, d/b/a Ruler Foods Inc.
Matter Name/ID:                               Jodi Morgan vs. Kroger Limited Partnership I, d/b/a Ruler Foods Inc. (10616089)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Class Action
Court/Agency:                                 Richland County Circuit Court, IL
Case/Reference No:                            2020CH7
Jurisdiction Served:                          Illinois
Date Served on CSC:                           10/26/2020
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
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